 Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 1 of 24 PageID #:57804




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

                                                    MDL No. 3060
                                                    Case No. 23 C 818
 IN RE: HAIR RELAXER MARKETING
                                                    Judge Mary M. Rowland
 SALES PRACTICES AND PRODUCTS
 LIABILITY LITIGATION
                                                    This document relates to:
                                                    All Cases

                            JOINT STATUS REPORT FOR THE
                       JUNE 26, 2025 STATUS CONFERENCE BEFORE
                         THE HONORABLE MARY M. ROWLAND

   Co-Lead Counsel for Plaintiffs and counsel for Defendants provide this joint status report in

advance of the status conference scheduled for June 26, 2025.


    I.      Bellwether Update/ Written Discovery Disputes

            a. Selection of Replacement Bellwether Case
               Plaintiff Belinda Hill (1:23-cv-11693) voluntarily dismissed her claim with
               prejudice on June 9, 2025. Pursuant to the Court’s June 10, 2025 Minute Entry
               [ECF 1262] and in accordance with the Court’s January 31, 2025 Order [ECF
               1052], by July 1, 2025, Defendants will file a status report identifying the
               replacement Initial Bellwether Discovery Case on the main MDL docket and their
               Answer and Affirmative Defenses on the replacement case’s individual member
               docket.

            b. Motions to Amend Short Form Complaints

               Four (4) of the 32 Bellwether plaintiffs have moved, or intend to move, to amend
               their Short Form Complaints (“SFCs”). These cases are described below with the
               Parties’ respective positions. The Court is also directed below to Section II.(a),
               more generally regarding pending motions to amend.

               Plaintiffs’ Position:
               These Bellwether plaintiffs have moved, or intend to move, for leave to amend
               their SFCs to correct administrative oversights. The Plaintiffs’ brief synopsis of
               the pending motions filed or anticipated to be filed in each case is as follows:

                       Tracy Byrd (1:23-cv-04005), a case selected by plaintiffs, has a pending
                        motion to amend her SFC to amend the dates of use of hair relaxer products
                        listed on her complaint to match the dates of use listed on her PFS. Ms.
                        Byrd’s case appears on the Court’s Order discussed below [ECF 1258].


                                                1
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 2 of 24 PageID #:57805




                   Ms. Byrd’s motion does not seek to amend the parties named or products
                   used.

                  Jennifer Hobbs (1:23-cv-13909), a case selected by defendants, who filed
                   a Motion for Leave to Amend Complaint on June 16, 2025 [ECF 15]. As
                   stated in her motion, Plaintiff inadvertently failed to “check the box” for
                   Strength of Nature LLC, despite including products for this defendant and
                   including member party Godrej SON Holdings, Inc on the operative SFC.
                   Defendant Strength of Nature has indicated its intent to oppose this motion.
                   In accordance with the Court’s June 18, 2025 Minute Entry [ECF 1267]
                   the PSC and Defendants will be prepared to discuss whether additional
                   briefing may be necessary.

                  Lisa Thomas, on behalf of the Estate of Jannette Wallace (1:23-cv-10632),
                   a case selected by plaintiffs, who filed a Motion to Amend First Amended
                   Short Form Complaint by Interlineation on June 12, 2025 [ECF 15]. As
                   stated in her motion, Plaintiff mistakenly omitted Defendant Sally Beauty
                   LLC from her First Amended Short Form Complaint and seeks to re-add
                   Sally Beauty LLC. Defendant Sally Beauty LLC opposes this motion and
                   in accordance with the Court’s June 13, 2025 Minute Entry [ECF 18], its
                   opposition is due on June 27, 2025.

                  Barbara Smith (1:23-cv-10280), a case selected by defendants, has
                   informed defendants that she intends to file a Motion for Leave to File
                   Amended Complaint by June 20, 2025. Ms. Smith will seek to amend her
                   SFC to change the original jurisdiction and venue from Alabama to
                   Wisconsin. Ms. Smith does not seek to amend the parties named or
                   products used.

            Defendants’ Position:

            Defendants respond below to Plaintiffs’ positions as to the four (4) Bellwether
            cases to provide context to Plaintiffs’ representations. Three of the four motions
            to amend in the Bellwether-selected cases were filed only within the last week.
            Motions to amend were filed after the deadline in 12% of the Bellwether-selected
            cases. Both points are concerning to Defendants.

            (1) Tracy Byrd (1:23-cv-04005):

            Defendants object to Plaintiff’s motion to amend her Short Form Complaint filed
            on May 28, 2025. Defendants’ position is contained in Exhibit A, attached hereto,
            as well as below in Section II.a. The date of use of a hair relaxer product is a
            critical piece of information that Defendants rely on to understand what products
            are or may be relevant, what theories of liability plaintiffs may have regarding
            certain products and to determine all defenses available in a given case. The Court
            was clear about the deadline by which Plaintiff was required to amend her Short


                                            2
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 3 of 24 PageID #:57806




            Form Complaint (see Dkt. 1052 at 7), particularly as to products. Permitting this
            amendment will open the floodgates to future amendments by all plaintiffs (in and
            out of the Bellwether process), prejudice Defendants and erode the import of
            Court-set deadlines in this MDL.

            (2) Jennifer Hobbs (1:23-cv-13909):

             This Court required Plaintiffs to amend their SFCs, if necessary, and add any
            additional parties by February 28, 2025. Dkt. 1052 at 7 (“by February 28, 2025
            all... all final amendments to the SFCs must be filed”). That ruling alone, and the
            certainty of the Court’s deadline, should have prompted a review of existing SFCs.
            Ms. Hobbs failed to do so in the more than 13 months between when she first filed
            her SFC and the February 28, 2025 deadline. Nor did Ms. Hobbs or her counsel
            endeavor to correct this purported error when Ms. Hobbs’s case first appeared on
            the Bellwether selection, months ago. Defendants relied on the information in the
            SFCs when selecting Bellwether cases, as this Court’s February 28, 2025 deadline
            for amendment was intended to allow them to do. See Green v. Revlon, Inc., No.
            1:23-cv-12207 at Dkt. 7 (“[Plaintiff] had over 17 months to name, in a Short Form
            Complaint, the appropriate defendants. The time has passed. The defendants
            named in any case is essential information for bellwether selection…”). Ms.
            Hobbs’s claimed inadvertent failure to include a defendant on her short form
            complaint – and failure to recognize that purported error until this case was
            selected as a bellwether – is not a valid excuse to circumvent the Court’s February
            28, 2025 deadline, which this Court has recognized is a hard deadline in previous
            decisions on motions for leave to amend. See Green, supra, and Baker v. Revlon,
            Inc., No. 1:23-cv-13140 at Dkt. 5 (“This deadline was discussed at several status
            hearings. Parties are in the process of selecting bellwether cases and the defendants
            named in a case is essential information for the parties to consider. There is no
            basis for Ms. Baker to receive special treatment in this regard”).

            (3) Lisa Thomas, on behalf of the Estate of Jannette Wallace (1:23-cv-10632):

             Sally Beauty opposes Plaintiff’s recent motion to amend her SFC to add Sally
            Beauty back in as a defendant well after her deadline to do so, as well as after the
            Bellwether selections were made. See No. 2 (Hobbs) above in Section I.b and
            below in Section II.a. Sally Beauty will be filing a formal Opposition to the
            pending motion.

            Plaintiff intentionally removed Sally Beauty as a named defendant, as it coincided
            with other purposeful changes to her timely amended SFC, made at the time of the
            February 28, 2025 deadline. As it stands now, her current and timely Amended
            SFC accurately reflects the factual assertions made in her PFS. Plaintiffs selected
            for the Bellwether discovery process should not be permitted to amend their SFCs
            after their deadline to do so and after selection by the parties. Granting such a
            motion would be prejudicial to the defendants sought to be added, and would
            undermine one of the primary goals of the deadline, which was to provide finality



                                             3
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 4 of 24 PageID #:57807




            and certainty in the factual allegations of these test cases. Sally Beauty otherwise
            incorporates herein Defendants’ response below, in Section II.a. and its
            forthcoming opposition to the motion.

            (4) Barbara Smith (1:23-cv-10280):

            Defendants object to Plaintiff’s motion to amend her SFC to change her Original
            Venue selection. Plaintiff originally designated Illinois as her Original Venue. On
            February 28, 2025, the Court-ordered deadline for all amendments, Plaintiff
            amended her SFC to designate Alabama as her Original Venue. Plaintiff’s
            designation of the Original Venue is an important factor considered in determining
            Bellwether selection. Indeed, Defendants relied on this information in their
            selection of Bellwether cases. To permit Plaintiff to amend her state designation
            after completion of the Bellwether selection process is unfair and prejudicial to
            Defendants. Plaintiff’s motion should be denied, and Defendants will be opposing
            it, if necessary.

            Pursuant to the Court’s Minute Order [ECF 1267], the Parties will be prepared to
            discuss the motions at the upcoming Case Management Conference.

         c. Discovery Updates

            i.     Affirmative Bellwether Case Specific Discovery Served by Defendants
                   on Plaintiffs

           Plaintiffs’ Position:

            As discussed with the Court at the May 29, 2025 Case Management Conference,
            Defendants served interrogatories and requests for production on each individual
            bellwether plaintiff on May 21, 2025. On June 14, 2025, the PSC sent Defendants
            a letter detailing global objections to the discovery served on each Bellwether
            plaintiff. The Plaintiffs sent the letter in advance of the response date for the
            discovery under the FRCP to reach an agreement narrowing the scope of the
            extremely broad discovery requests prior to serving substantive answers. In
            addition, Plaintiffs wanted to accelerate the schedule for a meet and confer so that
            appropriate bellwether discovery could proceed expeditiously.

            The attempted meet and confer was necessary given the sheer breath (by volume
            and topic) of the discovery request that were served by Defendants on each
            bellwether plaintiff. For example, the new interrogatories violate the provision of
            FRCP Rule 33(a)(1) which provides that “a party may serve on any other party no
            more than 25 written interrogatories, including all discrete subparts”; here,
            Defendants have served far in excess of 215 interrogatories when subparts are
            included. Further, this is in addition to the 99 interrogatories that were propounded
            on each plaintiff in the context of the PFS and is, according to the Defendants,
            simply the first wave of interrogatories they intend to serve on each of the



                                             4
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 5 of 24 PageID #:57808




            bellwether plaintiffs in this litigation. The sheer volume of the interrogatories
            violates the FRCP and must be limited; simply because a personal injury claim is
            included in an MDL does not subject the plaintiff to greater discovery burdens and
            obligations.

            Further, the attempted meet and confer was necessary given the wide ranging and
            irrelevant information sought by the Defendants. For example, Defendants have
            served a single interrogatory on each Bellwether plaintiff asking that they provide
            six different pieces of information concerning their lifetime use of well in excess
            of 100 personal care products, household products, ingestible products, injectable
            products, and feminine care products. Among other thing, Defendants have asked
            each Bellwether plaintiff to identify every single brand, dates of use, frequency of
            use and any warnings they received for each deodorant, foot moisturizer, hand
            sanitizer, exfoliator, toner, tampon, sanitary pads/napkins, botox, facial injectable,
            eyelash glue, air freshener, cleaning product (including but not limited to
            bathroom, carpets, floors, household generally, kitchen, windows, and other),
            detergent, disinfectant, dryer sheets, and plastic food containers they ever were
            “exposed to” in their lives. These examples are just a tiny fraction of the product
            categories identified by the Defendants. Further, the Defendants also included a
            “catch-all” for each of the product types, asking the Plaintiffs to provide this
            information for:

                     Any And All Other Hair Care Products
                     Any And All Other Skin Care Body Care Products
                     Any And All Other Facecare Products
                     Any And All Other Feminine Care Products
                     Any And All Other Injectable Products
                     Any and All Other Chemicals

            The problems with this request go well beyond its violation of FRCP 33(a)(1) and
            are manifest on its face. The information sought is not relevant to any bellwether
            plaintiff’s individual claim that Defendants’ Hair Relaxer products were a cause
            of her cancer and, as outlined below, the Defendants are attempting to stonewall
            Plaintiff’s request that the Defendants provide the basis (if they have one) to show
            that any of these products can cause the type of cancer that any bellwether plaintiff
            has. Further, the information requested isn’t even knowable; no person could
            possibly have the recall or the ability to answer these questions.

            Similarly, the Defendants have asked Plaintiffs broadly to identify whether any of
            their biological family members (including parents, siblings, children,
            grandchildren, grandparents, aunts, uncles, or cousins), living or deceased, have
            been diagnosed with:

                     any endocrine disorder (including but not limited to T1DM, T2DM,
                      polycystic ovary syndrome, estrogen deficiency, progesterone
                      deficiency, testosterone deficiency);


                                             5
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 6 of 24 PageID #:57809




                     any gynecological disorder (including but not limited to infertility,
                      polycystic ovary syndrome, hereditary breast and ovarian cancer
                      syndrome, endometriosis, fibroids, precocious puberty, endometrial
                      hyperplasia); and
                     any genetic or hereditary disorder (including but not limited to Lynch
                      Syndrome, HNPCC, Peutz-Jeghers syndrome, MUTYH-associated
                      polyposis, BRCA1 mutation, BRCA2 mutation)

            Again, the Plaintiffs cannot discern why all of these requests for a broad family
            history of a wide variety of illnesses is relevant to the Bellwether Plaintiff’s claims
            in this litigation. Defendants have provided no basis for this request which, in
            addition to being irrelevant, impinges on privacy expectations of non-parties to
            these lawsuits; it is simply baffling to claim that a cousin or child or aunt or uncle
            or any family member must allow these Defendants to pry into their private health
            care information simply because their family member filed a lawsuit alleging that
            her Hair Relaxer was a cause of her cancer. Further, as outlined below, the
            Defendants are attempting to stonewall Plaintiff’s request that the Defendants
            provide the basis (if they have one) to show that any of this information can shed
            light on the cause of the type of cancer that any bellwether plaintiff has.

            Based on this preview of a few of the issues with the discovery served on the
            Bellwether plaintiffs, it is self-evident that there must be a meaningful meet and
            confer to narrow these issues. This meet and confer must recognize the necessary
            balance between relevance and burden that must be struck with these discovery
            requests, including requests that ask for use of scores of random different
            consumer product types with no time limitations whatsoever. Having initially
            refused to meet and confer, Defendants have agreed to engage in a meet and confer
            and afforded an additional thirty (30) days to complete the meet and confer and
            for plaintiffs to provide substantive answers to the discovery demands that are not
            withdrawn or which, if judicial intervention is necessary, the Court decides.

            Defendants’ Position:

            Plaintiffs’ Leadership insisted that this now-resolved issue be addressed in this
            JSR.

            Defendants initially asked that Plaintiffs serve responses on the original due date,
            so that answers and responses subject to any objections could be served, narrowing
            and focusing the issues for resolution at any meet and confer, and to avoid follow-
            on delays in case-specific discovery, including depositions of Bellwether
            Plaintiffs. Plaintiffs asked that Defendants reconsider, and Defendants did so.

            While Defendants disagree with Plaintiffs’ characterization of the case-specific
            discovery served on Plaintiffs, they have agreed to Plaintiffs’ requested 30-day
            extension and will meet and confer with Plaintiffs before their responses are due,
            effectively mooting this issue.


                                              6
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 7 of 24 PageID #:57810




            ii.       Affirmative Bellwether Case Specific Discovery Served by Plaintiffs
                      on Defendants

           Plaintiffs’ Position:
           The bellwether plaintiffs served case specific discovery demands on the named
           defendants in their given cases, which included fourteen (14) interrogatories and
           eight (8) requests for production. These were served on Defendants by individual
           bellwether counsel between June 4 and 9, 2025.

           Defendants, for the first time in this submission, raise issues with the discovery
           served by the Plaintiffs. However, these objections, which should have been raised
           in a meet and confer, are without merit. Despite Defendants claim, Plaintiffs did
           not serve contention interrogatories in violation of any Court order; instead,
           Plaintiffs served discovery asking each of the Defendants to identify the following:

                 Which of the items/substances/products that Defendants questioned Plaintiff
                  about in their discovery requests discussed above can be a cause the type of
                  cancer that the Bellwether plaintiff has;
                 Which of the forms of birth control that Defendants questioned Plaintiff about
                  in their discovery requests discussed above can be a cause the type of cancer
                  that the Bellwether plaintiff has;
                 Which of the sexually transmitted diseases that Defendants questioned Plaintiff
                  about in their discovery requests discussed above can be a cause the type of
                  cancer that the Bellwether plaintiff has;
                 Which of these cancers, endocrine disorders, gynecological disorders, and/or
                  genetic or hereditary disorders Defendants questioned Plaintiff about in the
                  discovery requests discussed above can be a cause or increase the risk of a
                  family member developing endometrial cancer.

           Defendants here are simultaneously attempting to extract massive amounts of
           irrelevant information from each Bellwether plaintiff in a fishing exposition while
           shielding themselves from having to explain why they believe such information is
           relevant (either through discovery requests which the Bellwether plaintiffs
           propound and now defendants refuse to answer or a meaningful meet and confer
           which the Bellwether plaintiffs requested and Defendants refused). These
           inconsistent positions are not only disingenuous, but they actively work to deny
           Plaintiffs access to information that the Defendants themselves put squarely at issue
           in this case. The Defendants cannot have it both ways; Plaintiffs propose that the
           Defendants identify which of the myriad of products, conditions, and the like that
           Defendants have identified in their discovery request can be a cause of the
           Plaintiff’s cancer, and their basis (including latency, duration of use, etc.).
           Plaintiffs then can provide responses to the narrowed list of products that can
           actually be a cause of the type of cancer to the best of their knowledge and ability.




                                               7
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 8 of 24 PageID #:57811




           Defendants’ Position:
           During the April 24, 2025 Case Management Conference, this Court cautioned
           Plaintiffs against serving contention interrogatories that seek expert testimony. See
           Apr. 24, 2025 Tr. at 27:20-24 (cautioning Plaintiffs not to serve interrogatories that
           require expert input). The Court also told Plaintiffs that, to the extent they insist on
           serving contention interrogatories on Defendants, those interrogatories should be
           served in a separate set from the rest of the bellwether interrogatories. See id. at
           26:2-9. Plaintiffs did not heed these instructions. Instead, Plaintiffs served 30 sets
           of interrogatories, each of which included bellwether interrogatories and contention
           interrogatories in the same document. The contention interrogatories served by
           Plaintiffs are improper, as they seek information that is the subject of expert
           testimony. In particular, Interrogatory Nos. 1-4 from Plaintiff Gwendolyn
           Alexander’s First Set of Interrogatories ask whether certain products, forms of birth
           control, sexually transmitted diseases and medical conditions/disorders cause
           cancer and Defendants’ bases for the same, “including all published and
           unpublished medical, scientific, or other literature.” (See Ex. B, attached hereto.)
           As this information seeks expert input, Defendants’ responses to these
           interrogatories should be deferred until expert discovery is complete. See Ziemack
           v. Centel Corp., No. 92 C 3551, 1995 WL 729295, at *3 (N.D. Ill. Dec. 7, 1995)
           (deferring responses to contention interrogatories “that will be more appropriately
           dealt with by experts” to a “later date”). See also Fed. R. Civ. Proc. 33(a)(2) (“the
           court may order that the [contention] interrogatory need not be answered until
           designated discovery is complete, or until a pretrial conference or some other
           time.”).

         d. Answers in the Bellwether Cases
           As set forth in CMO 15, the Defendants filed their respective Answers as set forth
           in CMO 15 on June 9, 2025 in each of the Bellwether cases. The Plaintiffs are
           assessing and reviewing same and will be prepared to address any issues with the
           Court at the June 26, 2025 Case Management Conference, if necessary.

  II.    Case Management Status
         a. Report on SFC Amendment Motions and Requests made after the February 28,
            2025 Deadline per Court Order [Dkt. 1258]

            In accordance with the Court’s Order [ECF 1258] requiring the Parties to file a
            report regarding Plaintiffs’ Motions to Amend Short Form Complaints (SFCs) and
            Motions to Substitute that were filed after February 28, 2025, in cases that had a
            February 28, 2025 Court-issued deadline to amend pleadings. After meeting and
            conferring, the Parties have not reached agreement and have outlined their global
            positions below and in a case specific chart attached as Exhibit A. The Parties will
            be prepared to discuss this issue at the June 26, 2025 Case Management
            Conference.




                                              8
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 9 of 24 PageID #:57812




            Plaintiffs’ Position:

            The Court has already provided guidance via rulings provided on a handful of
            motions to amend or substitute the parties listed on Exhibit A. After removing
            these cases, there are currently fourteen (14) cases for which the motions to amend
            or substitute have been held in abeyance. As noted on Exhibit A, of these fourteen
            cases, Defendants do not oppose the pending motion in nine (9) cases and counsel
            are in agreement that in the circumstance where a plaintiff is deceased, substitution
            of the parties and amendment of the SFC are appropriate and necessary under the
            Federal Rules.

            The parties are unable to agree with regard to the remaining five (5) cases, one of
            which is bellwether plaintiff Tracy Byrd (which the PSC addresses in the
            bellwether section of the JSR). In each of these cases, the Plaintiff filed a motion
            to amend her complaint to correct either the date(s) of usage of hair relaxer
            products or the date of the diagnosis of her injury. In accordance with the Court’s
            prior ruling, a Plaintiff’s PFS must match her SFC. See ECF 976. In each of these
            five cases, the Plaintiff has moved to amend her SFC in order to meet correct
            administrative oversights and meet the requirements of ECF 976. Defendants’
            assertions that amendments such as these would create unnecessary confusion or
            unpredictability are unwarranted with regard to these cases. Plaintiffs’ motions to
            amend seek to undo the confusion of having different dates of usage on the SFC
            and the PFS. Furthermore, the Defendants will suffer no undo prejudice in these
            cases as they have had access to this information throughout the bellwether
            selection process as these dates were already contained in the Plaintiff’s PFS.
            These Plaintiffs are simply moving to amend in order to comply with the Court’s
            prior Order and as such, the motions to amend should be granted.

            With regard to bellwether plaintiffs Jennifer Hobbs, Barbara Smith, and the Estate
            of Jannette Wallace, who were not included in the Court’s Order [ECF 1258] and
            have recently moved or intend to move to amend their SFCs, the PSC has
            addressed these pending motions in Section I.b, above. Plaintiffs will be prepared
            to discuss these cases and the pending motions at the June Case Management
            Conference.

            Defendants’ Position:

            The Court and the Parties worked for months at multiple case management
            conferences to ensure that the Parties would have complete and final SFCs and
            PFSs for the Bellwether Eligible plaintiffs by the February 28, 2025 deadline.
            Now, months after the Court issued the unambiguous amendment deadline, more
            than thirty (30) identified plaintiffs are attempting to amend their SFCs to add
            Defendants and/or products and make other various revisions (and Defendants
            learned that Plaintiffs intend to file dozens more motions to amend). This includes
            four of the 32 Bellwether Plaintiffs, who are seeking to amend their SFCs, to inter
            alia add Defendants to their cases. Three of these four Bellwether Plaintiffs came



                                             9
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 10 of 24 PageID #:57813




            forward only in the past week, after the Court issued its Order raising concerns
            about the number of requests to amend being filed after the deadline.

            Defendants oppose these belated attempts to amend SFCs (and PFSs) in cases after
            the applicable February 28, 2025 deadline. The Court already recognized that
            motions to amend were filed after the February 28, 2025 deadline, and denied
            motions “seeking to add Defendants and products.” Id. This is consistent with the
            Court’s repeated instructions in minute orders and during status conferences
            regarding this deadline.

            On June 18, 2025, for the first time, Plaintiffs informed Defendants of their
            position that, “Counsel did not interpret [the Court’s SFC and PFS amendment
            deadline order] as foreclosing any and all future amendments and understood it
            only to mean that a plaintiff would be unable to amend without moving for leave
            to file after that date. It is the PSC’s understanding that numerous plaintiffs are
            seeking to amend their SFCs in order to comply with the Court’s prior ruling that
            the PFS must match the SFC [EFC 976]. In these cases, amendments are being
            driven by Defendants’ return to PFS deficiencies directed at cases in the
            Bellwether eligible pool – even though the pool has been selected and, in many
            instances, these cases were already determined to be “substantially complete.””

            The next day, the day the Joint Status Report was due, after reviewing Defendants’
            response that no plaintiff attempting to substantively amend their PFS had received
            a belated deficiency letter and outlining the many ways that the Court’s orders
            have been clear, Plaintiffs changed their position to argue that all substantive
            amendments were being made to ensure that the SFC matches the PFS. The time
            to do so was by February 28, 2025. That time has long passed.

            The Court could not have been more clear in its orders and instructions regarding
            this deadline. As the Court noted in its June 6, 2025 Order, “[t]he Court previously
            ordered all final amendments to Short Form Complaints in Bellwether Eligible
            Cases must be filed by February 28, 2025. [1052] at 7. This deadline “was
            discussed at several status hearings,” ECF No. 1258, starting in late 2024. On
            December 6, 2024, the Court specifically highlighted this exact situation for
            plaintiffs’ counsel, instructing plaintiffs “to assure that their individual PFS is
            consistent with the most recent amended complaint on file” ahead of the SFC
            deadline. ECF No. 976.

            The deadline has been repeatedly and consistently enforced by the Court, and
            should continue to be an enforced deadline moving forward. By way of example,
            in the Green case pending in this MDL, the Court denied original and renewed
            motions for leave to file an amended complaint to add defendants and products
            because “[p]laintiff filed her case on 9/13/23 and failed to name the defendants at
            issue prior to the [deadline].” Green v. Revlon, Inc., No. 23-cv-12207, ECF Nos.
            5, 7. The Court emphasized that Plaintiff “had over 17 months to name, in a Short
            Form Complaint, the appropriate defendants. The time has passed.” Id.



                                            10
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 11 of 24 PageID #:57814




            The Court adopted the February 28th deadline to apply to Bellwether Eligible
            plaintiffs and contemplated Defendants’ need for awareness of all the allegations
            from every plaintiff so they could make informed and meaningful Bellwether
            selection decisions. See, e.g., Jan. 2025 Joint Status Report (Defendants’ position),
            ECF No. 1008.

            Defendants sought to avoid the exact situation now presented by these post-
            deadline motions to amend: that plaintiffs would seek to add defendants and/or
            products, or other key information, after the completion of the bellwether selection
            process and/or in anticipation of potential future bellwether waves or resolution
            discussions. See, e.g., Transcript of Jan. 2025 Case Mgmt. Conf. with Judge
            Rowland, H. Levine, ECF No. 1017, at 37:9–20 (“we care that they are locked in,
            and they can’t fix them at some later time if they’re picked as a bellwether case
            and say, ‘Oh, yeah. I meant to change this.’ We wanted to lock in the plaintiffs so
            that they cannot change their mind after they are selected as a bellwether case….”).

            The Court recognized that allowing SFC amendments after the bellwether cases
            were selected would inject unnecessary confusion and unpredictability into this
            process, undermining the very purpose of bellwether selection. Green v. Revlon,
            Inc., No. 23-cv-12207, ECF Nos. 5 (N.D. Ill. Mar. 27, 2025) (“Parties are in the
            process of selecting bellwether cases and the defendants named in a case is
            essential information for the parties to consider.”). Additionally, Defendants who
            are now facing the potential of being added to a case selected for the Bellwether
            process nearly two months ago will suffer prejudice if the amendments to add them
            are permitted. Indeed, the deadline to file an answer in each of the Bellwether
            Discovery Cases has passed, and case-specific written discovery is underway. The
            February 28, 2025 deadline was long-established to ensure fairness and efficiency
            in this MDL.

            These deadlines are also important for resolution purposes, for company reporting
            obligations, and for plaintiffs’ counsel’s ability to track inventories. All current
            and future plaintiffs, regardless of when they file their case, need to know that
            Court-ordered deadlines are real, and that there are consequences for not adhering
            to them.

            The Court should not permit any plaintiff to circumvent this long-standing, well-
            known and unambiguous deadline. To do so would contradict well-established
            precedent in this litigation. For these and other reasons, the Court should deny the
            motions to amend SFCs sought after their deadline to do so, including in the four
            Bellwether Discovery Cases. The only exception to which Defendants would
            consent is a substitution for a deceased plaintiff. Defendants’ position as to the
            identified Motions to Substitute, filed with the goal of identifying the proper
            plaintiff following the death of a plaintiff, is consistent with this Court’s prior
            orders.




                                            11
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 12 of 24 PageID #:57815




               By addressing this issue globally, rather than individually, the Court may be able
               to avoid having to substantively review and address future motions by plaintiffs
               and oppositions by defendants. If plaintiff-by-plaintiff rulings prove necessary, the
               Parties’ positions as to each specific Plaintiff’s motion identified by the Court are
               contained in chart form in Exhibit A, attached hereto. Additionally, as to the three
               Bellwether Plaintiffs who filed Motions to Amend, Tracy Byrd (1:23-cv-04005)
               is included in Exhibit A as a motion identified by the Court. Two others, Janette
               Wallace (1:23-cv-10632) and Jennifer Hobbs (1:23-cv-13909), filed their motions
               last week, and seek to substantively change their pleadings by adding a Defendant
               as well as additional product information.1 A fourth Bellwether Plaintiff informed
               Defendants this week, on June 17, 2025, that she will be moving to amend to
               change original jurisdiction and venue from Alabama to Wisconsin (after timely
               amending their SFC to change from Illinois to Alabama), which Defendants will
               oppose.

               The Defendants whom Plaintiffs Wallace and Hobbs seek to add, Sally Beauty and
               Strength of Nature, respectively, plan to file formal responses opposing these
               motions. However, the Court already has spoken several times on this issue and
               these motions should similarly be denied. See, e.g., Baker v. Revlon, Inc., No. 23-
               cv-13140 (N.D. Ill. Mar. 26, 2025) (denying the plaintiff’s motion to amend her
               SFC after the February 28, 2025 deadline because “the defendants named in a case
               is essential information for the parties to consider” during bellwether selection).
               Id.

            b. Report on CMO 16 Reinstatement and Refiling Process
               In accordance with the Court’s instruction at the May 2025 Case Management
               Conference, Plaintiffs’ Leadership and Defendants met and conferred on June 6,
               2025, regarding possible changes to Case Management Order 16, which governs
               the requirements and process for plaintiffs whose cases were dismissed without
               prejudice to either reinstate or refile their cases under specific, delineated
               circumstances. The Court indicated the CMO 16 process may require some
               revisions for management of the docket. The Parties reviewed the various
               processes outlined in CMO 16 and considered a number of alternatives, including
               how to make the process administratively workable. The Parties have not been
               able to suggest a more simplified process for the Court that also ensures that the
               goals and requirements outlined in CMO 16 are met. This is not an issue with
               which the Parties have a disagreement and cannot agree to the same process, but
               rather the Parties are aligned, and both sides are willing to work with the Court,



1
  See Lisa Thomas, on behalf of the Estate of Jannette Wallace, Plaintiff’s Motion to Amend First
Amended Short Form Complaint by Interlineation Due to a Clerical Omission of Defendant Sally
Beauty Supply, LLC, In re Hair Relaxer Mktg. Sales Pracs. & Prods. Liab. Litig., No. 1:23-cv-
10632 (N.D. Ill. June 12, 2025); Jennifer Hobbs, Motion for Leave to Amend Complaint, In re
Hair Relaxer Mktg., Sales Pracs., & Prods. Liab. Litig., MDL No. 3060, No. 1:23-cv-13909 (N.D.
Ill. June 16, 2025).


                                               12
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 13 of 24 PageID #:57816




             including virtually at a separately scheduled time from the Status Conference, or
             at the Status Conference, to discuss management of the process.

         c. Report on Duplicate Filed Cases to Be Dismissed With Prejudice
            Based on analyses of Amended CMO 10-required data (name, date of birth, Social
            Security Number, and address) available in MDL Centrality, and in advance of the
            last two status conferences, on April 28, 2025, and May 12, 2025, Defendants
            identified to Plaintiffs’ Leadership Counsel a total of 98 plaintiffs with active cases
            and/or MDLC profiles who appeared to have duplicately filed cases and/or be “dual
            represented” by different counsel (“Duplicate Plaintiffs”). Defendants requested
            that counsel for these Duplicate Plaintiffs work together to resolve the duplication
            by dismissing with prejudice—per the Court’s guidance [ECF 649]—the
            duplicately filed action and/or deactivating profiles in MDLC, as needed (for
            example, where one is unfiled and one is filed). As of June 18, 2025, there remain
            38 Duplicate Plaintiffs with active cases pending in this MDL. See attached Exhibit
            C.

            The existence of duplicately filed claims in an MDL presents a host of difficulties,
            including the potential for confusion among Plaintiffs and their counsel and wasted
            party and Court resources. Accordingly, Defendants request that the Court dismiss
            with prejudice all but the first-filed case of each Duplicate Plaintiff. To be clear,
            Defendants are not seeking to completely extinguish any individual Plaintiff’s case.
            Rather, Defendants are seeking to require each Plaintiff to have only one case (the
            first filed) proceed in this MDL. If the Court is amenable to this solution,
            Defendants can submit a proposed dismissal order for the Court’s consideration.

            Plaintiffs’ Position:
            The PSC is in agreement that each Plaintiff should only have one case proceed in
            this MDL. However, the PSC notes that plaintiffs often seek new counsel for
            specific and/or personal reasons and that it may not be the plaintiff’s desire or intent
            to continue with their original attorneys. For this reason, the PSC requests that the
            Court set a deadline for a counsel representing Duplicate Plaintiff(s) listed on
            Exhibit C to confer on duplicatively filed case(s) prior to any automatic dismissal
            with prejudice in accordance with Dkt. 649 of all but the first-filed case.

            Also of note, this is an issue that occurs in most product-liability MDLs and is
            typically addressed and worked out by and between the parties and rarely requires
            judicial intervention or the necessity to raise it with the hyperbole that certain
            defendants ascribe to the situation.

         d. Report on CMO 9 Dismissals to Be Filed on Individual Dockets
         Pursuant to the Court’s Orders following past Court Call Hearings, the following
         Plaintiffs were dismissed without prejudice, subject to the following conditions:
         “Plaintiffs will have until 6/25/25 to refile their case as of right. However, Plaintiffs
         may only refile in federal court within this MDL and must also file a complete PFS
         and authorizations within 10 business days of refiling. As of 6/26/25, the dismissal



                                              13
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 14 of 24 PageID #:57817




          will convert to a dismissal with prejudice.” As of June 18, 2025, no dismissal orders
          have been entered on the following Plaintiffs’ individual dockets.

                    Case Name              Case Number       Court Call      Court’s MDL
                                                             Hearing         Dismissal Order(s)
                    Rivera, Lillian        1:24-cv-02181     2/2/2025        ECF 1075, 1122
                    McDuffie, Monica       1:24-cv-09461     2/2/2025        ECF 1075, 1122
                    Wilson, Tresa          1:24-cv-08543     2/2/2025        ECF 1075, 1122
                    Burton, Juanita O.     1:24-cv-07450     3/26/2025       ECF 1149, 1167
                    Pettigrew, Danette     1:24-cv-07979     3/26/2025       ECF 1149, 1167
                    Sledge, Terry          1:24-cv-10033     3/26/2025       ECF 1149, 1167
                    Stephens, Dawn         1:24-cv-10092     3/26/2025       ECF 1149, 1167
                    Upshaw, Leilani        1:24-cv-10007     3/26/2025       ECF 1149, 1167
                    Harvey, Cynthia F.     1:24-cv-11235     3/26/2025       ECF 1149, 1167


   III.   Science Day CMO
          As discussed during the May 29, 2025 Case Management Conference and pursuant to
          the Court’s Minute Entry [ECF 1242], the parties submitted their proposed Case
          Management Order regarding Science Day, along with a list of state court judges. The
          parties will be prepared to discuss any concerns at the June 26, 2025 Case
          Management Conference, if necessary.

   IV.    Report on Amendments to CMO 13 Motions to Withdraw and Pro Se Management
          Order
          On June 10, 2025, the parties submitted to the Court via email the proposed Amended
          CMO 13 for the Court’s consideration and/or further direction. The parties will be
          prepared to discuss any concerns at the June 26, 2025 Case Management Conference,
          if necessary.

   V.     State Court Update

          Certain state court judges the parties have appeared before recently have been notified
          of the January 8, 2026, Science Day proceeding, and have been informed of this
          Court’s impending invitation for them to join those proceedings. All have indicated
          an interest in attending Science Day, and have inquired as to whether a remote link
          will be provided. Furthermore, Judge Roberts (Philadelphia) and Judge Wong
          (Chatham) have indicated a desire and willingness to coordinate and cross-notice
          depositions scheduled in the MDL consistent with the deposition protocol, and in
          Judge Wong’s case he has already included such a cross-notice provision in his draft
          case management order.

          Illinois State Cases:

          There are at least 400 cases pending in Cook County that have been consolidated for
          pre-trial purposes. The cases are pending for pre-trial discovery and motion practice


                                             14
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 15 of 24 PageID #:57818




         before Judge Sarah Johnson. On May 28, 2025, Judge Johnson granted L’Oréal USA
         and Strength of Nature’s respective motions to dismiss for lack of personal jurisdiction
         with respect to non-Illinois resident plaintiff claims. The parties are currently
         identifying the specific cases impacted by this order and how to proceed with those
         cases in light of the order. In addition, on May 28, 2025, Judge Johnson granted in part
         and denied in part, Defendants’ Joint Motion to Dismiss the Amended Master Long
         Form Complaint with leave to amend. Plaintiffs must file their Second Amended
         Master Complaint by June 26, 2025. The next conference with Judge Johnson is
         scheduled for June 25, 2025; the parties will be prepared to report to the Court on
         developments during that conference.

         The cases were also being directed by Interim Presiding Judge of the Law Division,
         Judge Kathy Flanagan, who previously set four trial dates (in cohorts of five cases)
         for the consolidated cases. Subsequently, the first two of those trial dates were
         vacated, with the first cohort trial now set to begin on March 23, 2026. On June 3,
         2025, the Circuit Court of Cook County announced that Judge Thomas V. Lyons, II
         would be appointed as Presiding Judge, and thus would be replacing Judge Flanagan.
         The parties are set to appear for a status hearing before Judge Lyons on June 25, 2025;
         the parties will be prepared to report to the Court on developments during that
         conference as well.

         Additionally, there is currently one case pending in St. Clair County. The case remains
         in the pleading stage before Judge Patrick R. Foley.

         Georgia State Cases:

         There are at least 400 cases pending in Chatham County, Georgia. These cases have
         been consolidated for pretrial purposes before Judge Derek J. White. On June 21,
         2024, the Georgia Court of Appeals issued its opinion in Burroughs v. L’Oreal USA,
         Inc., Case No. STCV2201876, holding that plaintiff’s strict liability claims were
         barred because plaintiff’s first use of the alleged products occurred prior to the ten-
         year statute of repose period. On December 10, 2024, the Georgia Supreme Court
         granted certiorari on the following issue: “In a tort action alleging an injury caused by
         the use of multiple units of a consumable product over time, when is the ‘first sale for
         use or consumption of the personal property causing or otherwise bringing about the
         injury,’ at which point the statute of repose begins to run? See O.C.G.A. § 51-1-
         11(b)(2).” Oral argument was held on May 13, 2025. The consolidated matters are
         stayed, as the trial court is lacking jurisdiction over the same pending resolution of
         this appeal. Defendants understand that the Georgia Supreme Court has until
         November 18, 2025, to issue its Opinion in Burroughs.

         There are also at least 247 cases pending in DeKalb County, Georgia. These cases are
         being consolidated for pretrial purposes before Judge Alvin T. Wong. During status
         conferences held on January 17, 2025 and April 7, 2025, the Court indicated that its
         preference would be to address general causation and/or expert challenges early on.
         A master complaint was filed on March 24, 2025. On May 5, 2025, the parties



                                             15
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 16 of 24 PageID #:57819




         submitted their proposals for a short form complaint and a proposed discovery
         schedule to the Court. On May 30, 2025, the Court provided the parties with feedback
         and the parties convened via videoconference on June 9, 2025 to discuss. The Court
         explained that it expects to enter the proposed SFC and CMO in short order, and
         pleading challenges to the Master Complaint will be due 45 days thereafter.

         Philadelphia State Cases:
         There are 25 cases pending in Philadelphia County, Pennsylvania, which were recently
         coordinated and transferred to the Court’s Mass Tort Program. The new judge, the
         Hon. Joshua Roberts, and the parties are working to prepare case management orders
         that will govern pretrial proceedings such as the procedures for the remaining
         pleadings and challenges thereto as well as discovery. Judge Roberts held the first
         Case Management Conference on June 5, 2025. The parties discussed the history of
         the litigation, including the MDL. The Court did not set any dates and he kept the stay
         with respect to pleading responses in place until the Court issues further orders. Judge
         Roberts has requested videoconference with liaison counsel for June 25 or 26 to
         discuss logistics; the next case management conference is scheduled for September
         17, 2025.

         California State Case:

         There is currently one case in California. Plaintiff filed an Amended Complaint on
         May 30, 2025. Defendants must file their respective demurrers by July 11, 2025.

         New York State Cases:

         There are currently five cases pending in New York, all before Judge Mary V. Rosado.
         On April 9, 2025, Judge Rosado issued her ruling in the Rance case, granting in part
         and denying in part Defendants’ motions to dismiss. Defendants without pending
         motions to dismiss filed their answers on May 1, 2025 and the parties are to submit a
         proposed preliminary conference order by July 21, 2025. In the Deliotte case,
         Defendants filed motions to dismiss Plaintiff’s Second Amended Complaint. In the
         Barber case, Defendants’ motion to dismiss is still being briefed.

         Delaware State Case:

         There is one case pending in New Castle County, Delaware, filed on October 17, 2024
         against 14 Defendants. All Defendants have entered their appearances and filed
         Motions to Dismiss under Rules 12(b)(1), 12(b)(6) and 9(b), under various theories.
         The Parties have been ordered to meet and confer regarding a schedule for the
         Plaintiff’s combined answering brief, the Defendants’ reply briefs and oral argument.
         The case has been assigned to Judge Eric M. Davis of the Delaware Superior Court,
         in New Castle County.




                                             16
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 17 of 24 PageID #:57820




   VI.    Status of Pending Briefs/Motions/Orders


         a. NIH Motion to Compel: On January 24, 2025, Revlon filed a motion to compel
            the production of documents from the National Institutes of Health [ECF No. 1034].
            Following the February Case Management Conference, a briefing schedule was set
            [ECF 1081] and extensions were then granted [ECF 1106, 1137, and 1162]. The
            NIH filed their response to the motion to compel on April 22, 2025 [ECF 1185] and
            Revlon’s reply was filed May 13, 2025 [ECF 1224]. As discussed at the May 29,
            2025 Case Management Conference and in accordance with the Court’s May 30,
            2025, Minute Order, Plaintiffs filed a sur-reply in opposition to Revlon’s motion to
            compel on June 5, 2025 [ECF 1254].


Dated: June 19, 2025

 FOR PLAINTIFFS:                                   FOR DEFENDANTS:

 Respectfully Submitted,                           Respectfully Submitted,

 /s/Edward A. Wallace                                /s/Mark C. Goodman
 Edward A. Wallace                                   Mark C. Goodman
 WALLACE MILLER                                      BAKER & MCKENZIE LLP
 150 N. Wacker Dr., Suite 1100                       101 California Street, Ste 4100
 Chicago, Illinois 60606                             San Francisco, California 94111
 T: (312) 261-6193                                   T: (415) 576-3080
 Email: eaw@wallacemiller.com                        mark.goodman@bakermckenzie.com

 Plaintiffs’ Liaison Counsel                         Defense Liaison Counsel and Counsel for
                                                     Defendant Namasté Laboratories, LLC
 Diandra “Fu” Debrosse Zimmermann
 DICELLO LEVITT LLC                                  Mark D. Taylor
 505 20th Street North, Suite 1500                   BAKER & MCKENZIE LLP
 Birmingham, Alabama 35203                           1900 North Pearl Street, Suite 1500
 T: (312) 214-7900                                   Dallas, Texas 75201
 Email: fu@dicellolevitt.com                         T: (214) 978-3000
                                                     mark.taylor@bakermckenzie.com
 Plaintiffs’ Co-Lead Counsel
                                                     Colleen Baime
 Fidelma L. Fitzpatrick                              Laura Kelly
 MOTLEY RICE LLC                                     BAKER & MCKENZIE LLP
 40 Westminster Street, Fifth Floor                  300 East Randolph Street, Suite 5000
 Providence, Rhode Island 02903                      Chicago, Illinois 60601
 T: (401) 457-7700                                   T: (312) 861-2510
 Email: ffitzpatrick@motleyrice.com                  colleen.baime@bakermckenzie.com
                                                     laura.kelly@bakermckenzie.com
 Plaintiffs’ Co-Lead Counsel




                                             17
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 18 of 24 PageID #:57821



 Michael A. London                           Maurice Bellan
 DOUGLAS & LONDON, P.C.                      Teisha C. Johnson
 59 Maiden Lane, Sixth Floor                 BAKER & MCKENZIE LLP
 New York, New York 10038                    815 Connecticut Avenue, NW
 T: (212) 566-7500                           Washington DC 20006
 Email: mlondon@douglasandlondon.com         T: (202) 452-7057
                                             maurice.bellan@bakermckenzie.com
 Plaintiffs’ Co-Lead Counsel                 teisha.johnson@bakermckenzie.com

 Benjamin L. Crump                           Barry Thompson
 BEN CRUMP LAW FIRM                          BAKER & MCKENZIE LLP
 122 South Calhoun Street                    10250 Constellation Boulevard, Suite 1850
 Tallahassee, Florida 32301                  Los Angeles, CA 90067
 T: (850) 224-2020                           T: (310) 201-4703
 Email: ben@bencrump.com                     barry.thompson@bakermckenzie.com

 Plaintiffs’ Co-Lead Counsel                 Counsel for Defendant Namasté
                                             Laboratories, LLC

                                             Dennis S. Ellis
                                             Katherine F. Murray
                                             Serli Polatoglu
                                             ELLIS GEORGE LLP
                                             2121 Avenue of the Stars
                                             Suite 3000, 30th Floor
                                             Los Angeles, CA 90067
                                             T: (310) 274-7100
                                             F: (310) 275-5697
                                             dellis@egcfirm.com
                                             kmurray@egcfirm.com
                                             spolatoglu@egcfirm.com

                                             Jonathan Blakley
                                             GORDON REES SCULLY
                                             MANSUKHANI LLP
                                             1 N. Franklin St., Suite 800
                                             Chicago, IL 60606
                                             T: (312) 565-1400
                                             F: (312) 565-6511
                                             jblakley@grsm.com

                                             Peter Siachos
                                             GORDON REES SCULLY
                                             MANSUKHANI LLP
                                             18 Columbia Turnpike, Suite 220
                                             Florham Park, NJ 07932
                                             T: (973) 549-2500
                                             F: (973) 377-1911
                                             psiachos@grsm.com

                                             Counsel for Defendants L’Oréal USA, Inc.,
                                             L’Oréal USA Products, Inc. and SoftSheen-
                                             Carson LLC


                                       18
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 19 of 24 PageID #:57822



                                             Lori B. Leskin
                                             E. Dean Harris Porter
                                             ARNOLD & PORTER KAYE
                                             SCHOLER, LLP
                                             250 West 55th Street
                                             New York, NY 10019
                                             T: (212) 836-8641
                                             F: (212) 836-8689
                                             Lori.leskin@arnoldporter.com
                                             Dean.Porter@arnoldporter.com

                                             Rhonda R. Trotter
                                             ARNOLD         &    PORTER         KAYE
                                             SCHOLER, LLP
                                             777 South Figueroa Street, 44th Floor
                                             Los Angeles, CA 90017
                                             T: (213) 243-4000
                                             F: (213) 243-4199
                                             rhonda.trotter@arnoldporter.com

                                             Counsel for Defendants Strength of Nature
                                             LLC; Strength of Nature Global LLC; and
                                             Godrej SON Holdings

                                             R. Trent Taylor
                                             MCGUIREWOODS LLP
                                             Gateway Plaza
                                             800 East Canal Street
                                             Richmond, VA 23219-3916
                                             T: (804) 775-1182
                                             F: (804) 225-5409
                                             rtaylor@mcguirewoods.com

                                             Patrick P. Clyder
                                             Royce B. DuBiner
                                             MCGUIREWOODS LLP
                                             77 West Wacker Drive, Suite 4100
                                             Chicago, IL 60601-1818
                                             T: (312) 849-8100
                                             F: (312) 849-3690
                                             pclyder@mcguirewoods.com
                                             rdubiner@mcguirewoods.com

                                             Counsel for Defendant House of
                                             Cheatham LLC




                                       19
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 20 of 24 PageID #:57823



                                             Joseph P. Sullivan
                                             Kevin A. Titus
                                             Bryan E. Curry
                                             LITCHFIELD CAVO LLP
                                             303 W. Madison, Suite 300
                                             Chicago, IL 60606
                                             T: 312-781-6677
                                             F: 312-781-6630
                                             sullivanj@litchfieldcavo.com
                                             titus@litchfieldcavo.com
                                             curry@litchfieldcavo.com

                                             Counsel for Defendant Beauty Bell
                                             Enterprises, LLC f/k/a House of
                                             Cheatham, Inc.

                                             Richard J. Leamy, Jr.
                                             Kristen A. Schank
                                             Anna Morrison Ricordati
                                             WIEDNER & MCAULIFFE, LTD.
                                             1 N. Franklin St., Suite 1900
                                             Chicago, Illinois 60606
                                             T: (312) 855-1105
                                             rjleamy@wmlaw.com
                                             kaschank@wmlaw.com
                                             amricordati@wmlaw.com

                                             Counsel for Defendant Avlon Industries,
                                             Inc.

                                             Melissa Fallah
                                             Robert W. Petti
                                             Alyssa P. Fleischman
                                             MARON MARVEL
                                             191 N. Wacker Drive, Suite 2950
                                             Chicago, Illinois 60606
                                             T: (312) 579-2018 (ofc)
                                             mfallah@maronmarvel.com
                                             rpetti@maronmarvel.com
                                             afleischman@maronmarvel.com

                                             Counsel for Defendant Luster Products,
                                             Inc.




                                       20
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 21 of 24 PageID #:57824



                                             Robert A. Atkins
                                             Daniel H. Levi
                                             Shimeng (Simona) Xu
                                             PAUL, WEISS, RIFKIND, WHARTON
                                             & GARRISON LLP
                                             1285 Avenue of the Americas
                                             New York, NY 10019
                                             T: (212) 373-3000
                                             ratkins@paulweiss.com
                                             dlevi@paulweiss.com
                                             sxu@paulweiss.com

                                             Randy S. Luskey
                                             PAUL, WEISS, RIFKIND, WHARTON
                                             & GARRISON LLP
                                             535 Mission Street, 24th Floor
                                             San Francisco, CA 94105
                                             T: (628) 432-5112
                                             rluskey@paulweiss.com

                                             David E. Cole
                                             PAUL, WEISS, RIFKIND, WHARTON
                                             & GARRISON LLP
                                             2001 K Street, NW
                                             Washington, DC 20006
                                             T: (202) 223-7348
                                             dcole@paulweiss.com

                                             Edward P. Abbot
                                             ECKERT SEAMANS CHERIN &
                                             MELLOT, LLC
                                             275 Madison Avenue 10th Floor
                                             New York, NY 10016
                                             T: (646) 513-2358
                                             eabbot@eckertseamans.com

                                             Counsel for Defendants Revlon, Inc.,
                                             Revlon Consumer Products Corporation,
                                             and Revlon Group Holdings LLC

                                             Heidi Levine
                                             SIDLEY AUSTIN LLP
                                             787 7th Ave
                                             New York, NY 10019
                                             T: (212) 839-5300
                                             hlevine@sidley.com

                                             Lisa M. Gilford
                                             SIDLEY AUSTIN LLP
                                             555 W 5th St,
                                             Los Angeles, CA 90013
                                             T: (213) 896-6000
                                             lgilford@sidley.com


                                       21
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 22 of 24 PageID #:57825



                                             Colleen M. Kenney
                                             SIDLEY AUSTIN LLP
                                             One South Dearborn
                                             Chicago, IL 60603
                                             T: (312) 853-2666
                                             ckenney@sidley.com

                                             Yvette Ostolaza
                                             Amanda Crawford-Steger
                                             Imani Maatuka
                                             SIDLEY AUSTIN LLP
                                             2021 McKinney Ave., Ste. 2000
                                             Dallas, TX 75201
                                             T: (214)981-3496
                                             yostolaza@sidley.com
                                             asteger@sidley.com
                                             imaatuka@sidley.com

                                             Counsel for Defendant Sally Beauty Supply
                                             LLC

                                             Joseph J. Welter
                                             Ryan M. Frierott
                                             GOLDBERG SEGALLIA
                                             665 Main Street
                                             Buffalo, NY 14203
                                             T: (716) 566-5457
                                             jwelter@goldbergsegalla.com
                                             rfrierott@goldbergsegalla.com

                                             Counsel for AFAM Concept, Inc.

                                             Seth V. Alhadeff
                                             Ravika Rameshwar
                                             Matthew C. Wasserman
                                             DINSMORE & SHOHL LLP
                                             Southeast Financial Center
                                             200 S. Biscayne Blvd.
                                             Miami, FL 33131
                                             T: (786) 957-1157
                                             Seth.Alhadeff@dinsmore.com
                                             Ravika.Rameshwar@dinsmore.com
                                             Matthew.Wasserman@dinsmore.com

                                             Matthew C. Wasserman
                                             DINSMORE & SHOHL LLP
                                             222 W. Adams Street
                                             Suite 3400
                                             Chicago, IL 60606
                                             Matthew.Wasserman@dinsmore.com




                                       22
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 23 of 24 PageID #:57826




                                             Adam Fox
                                             DINSMORE & SHOHL LLP
                                             801 Pennsylvania Avenue N.W.
                                             Suite 610
                                             Washington, D.C. 20004
                                             P: (202) 559-3615
                                             F: (202) 372-9141
                                             Adam.Fox@dinsmore.com

                                             Counsel for Defendant, McBride Research
                                             Laboratories, Inc.

                                             Ashley C. Webber
                                             Emily D. Robinson
                                             MARSH ATKINSON & BRANTLEY,
                                             LLC
                                             271 17th Street NW
                                             Suite 1600
                                             Atlanta, GA 30363
                                             ashley.webber@mablawfirm.com
                                             emily.robinson@mablawfirm.com

                                             Counsel for Defendant, Dudley Beauty
                                             Corp, LLC

                                             Daniel L. Stanner
                                             Ashley Crettol Insalaco
                                             Megan E. Ryan
                                             TABET DIVITO & ROTHSTEIN LLC
                                             209 S. LaSalle Street, 7th floor
                                             Chicago, IL 60604
                                             Tel: (312) 762-9450
                                             dstanner@tdrlaw.com
                                             ainsalaco@tdrlaw.com
                                             mryan@tdrlaw.com

                                             Counsel for Defendant RNA Corporation

                                             Nancy L. Patterson
                                             MORGAN, LEWIS & BOCKIUS LLP
                                             1000 Louisiana Street
                                             Suite 4000
                                             Houston, TX 77002
                                             Telephone: (713) 890-5000
                                             Facsimile: (713) 890-5001
                                             nancy.patterson@morganlewis.com




                                       23
Case: 1:23-cv-00818 Document #: 1270 Filed: 06/19/25 Page 24 of 24 PageID #:57827



                                             Mark A. Fiore
                                             MORGAN, LEWIS & BOCKIUS LLP
                                             502 Carnegie Center
                                             Princeton, NJ 08540-6241
                                             Telephone: (609) 919-6600
                                             Facsimile: (877) 432-9652
                                             mark.fiore@morganlewis.com

                                             Counsel for Defendant John Paul Mitchell
                                             Systems, Inc.

                                             Leslie A. Federer, ARDC #6325614
                                             MARON MARVEL BRADLEY
                                             ANDERSON & TARDY LLC
                                             191 N. Wacker Drive, Suite 2950
                                             Chicago, Illinois 60606
                                             (312) 767-1314
                                             lfederer@maronmarvel.com

                                             Robert E. Dille (pro hac vice)
                                             MARON MARVEL BRADLEY
                                             ANDERSON & TARDY LLC
                                             201 St. Charles Ave., Suite 2411
                                             New Orleans, Louisiana 70170
                                             (504) 321-9331
                                             rdille@maronmarvel.com

                                             Counsel for Defendant Murray’s
                                             Worldwide, Inc.




                                       24
